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                                                                                                   United States Bankruptcy Court
                                   UNITED STATES BANKRUPTCY COURT                                      Southern District of Texas
                                     SOUTHERN DISTRICT OF TEXAS                                           ENTERED
                                                                                                       October 04, 2024
In Re:   Jennifer Louise Robinson                                                                    Nathan Ochsner, Clerk
                                                                                     Case No.: 24−33060

         Debtor                                                                      Chapter: 13



                              ORDER CONFIRMING CHAPTER 13 PLAN
                       AND VALUING COLLATERAL PURSUANT TO 11 U.S.C. § 506


     1. The Court has considered confirmation of the Debtor(s)' chapter 13 plan that was proposed on 9/17/24.

     2. All objections to the plan have been withdrawn or overruled.

     3. The Court has determined that the plan meets all of the requirements of §1325 of the Bankruptcy Code.

     4. Notwithstanding any estimate of the amount of a general or priority unsecured claim contained in the plan or
        in an order of the Court, the actual amount payable on priority claims will be the Allowed Amount of the
        priority claim and the actual proration for distribution on general unsecured claims will be based on actual
        Allowed Amounts of general unsecured claims.

     5. The value of the collateral for secured claims is in the amount set forth in the plan.

     6. The plan is confirmed.

     Signed and Entered on Docket: 10/4/24.
